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    Counsel for FedEx Supply Chain
    Logistics & Electronics, Inc.


                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


    In re:                                              §       Chapter 7
                                                        §
    GOODMAN NETWORKS, INC.                              §       Case No. 22-31641 (MVL)
                                                        §
                                 Debtor.                §
                                                        §

               FEDEX SUPPLY CHAIN LOGISTICS & ELECTRONICS, INC.
                 AND ARRIS SOLUTIONS’ WITNESS AND EXHIBIT LIST
                FOR HEARING ON OCTOBER 10, 2023, AT 9:30 A.M. (CT)

          FedEx Supply Chain Logistics & Electronics, Inc. (“FSCLE”) and ARRIS Solutions, Inc.

 (“ARRIS”) (FSCLE and ARRIS together are the “Objectors”), by and through their undersigned

 counsel, hereby designate the following witnesses and exhibits (the “Witness and Exhibit List”)

 for the hearing scheduled on October 10, 2023, at 9:30 a.m. (CT) (the “Hearing”) before the




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 Honorable Michelle V. Larson at the United States Bankruptcy Court for the Northern District of

 Texas.


 A.       WITNESSES

                                                      Witness

               Scott Seidel, Chapter 7 Trustee
   1.

               Lawrence “Bater” Bates
   2.

               David Montgomery
   3.

               James Goodman
   4.

               Any witness necessary to authenticate a document
   5.

               Any rebuttal and/or impeachment witnesses
   6.

               Any person listed on the witness list of another party
   7.




 B.       EXHIBITS

          The Objectors may offer into evidence any of the following exhibits at the Hearing:


   NO.      DESCRIPTION                               OFFERED           OBJECTION ADMITTED
    1       Deposition Transcript of Chapter 7
            Trustee/Scott Seidel

      2     Loan Agreement
      3     Promissory Note
      4     Security Agreement
      5     Loan Agreement
      6     Promissory Note
      7     Security Agreement


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   NO.   DESCRIPTION                           OFFERED    OBJECTION ADMITTED
    8    Pledge and Security Agreement –
         James Goodman
    9    Pledge and Security Agreement – John
         Goodman
   10    Goodman Networks Incorporated
         Current Report
   11    Prosperity Bank Statement for Acct.
         3992
   12    Assignment of Deposit Account
   13    Prosperity Bank Statement for Acct.
         4352
   14    Deposition excerpts of the Corporate
         Representative of Prosperity Bank
   15    Deposit Account Control Agreement
   16    Notice of Exclusive Control – Account
         Control Agreement
   17    Reed Smith Letter re: Goodman
         Networks, Inc. 8% Senior Secured
         Notes Due 2022
   18    Prosperity Bank Letter re: Goodman
         Networks DACA Transaction Requests
   19    Prosperity Bank Proof Daily
         Transaction Journal
   20    Reed Smith email re: Goodman
         Networks hold on funds
   21    Prosperity Bank email re: Goodman –
         Extension Instructions of D&O
         Coverage
   22    Akerman email re: Goodman Funds at
         Prosperity Bank
   23    John Goodman email re: Prosperity
         Bank Funds
   24    Prosperity Bank email re: Term Loan
         for Genesis Telecom
   25    Prosperity Bank email re:
         Endeavor/Goodman – Due Diligence
         Items
   26    Davor Rukavina email re: Goodman
         Funds held at Prosperity Bank
   27    Brenda Funk email re: Goodman
         Prosperity Bank Escrow
   28    Phillip Guffy email re: Goodman –
         Prosperity DACA for the 3992 account
   29    Brenda Funk email re: Goodman –
         Prosperity Escrow

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   NO.   DESCRIPTION                             OFFERED   OBJECTION ADMITTED
    30   Victoria Argeroplos email re:
         Goodman – Prosperity Escrow
   31    Collective Exhibit of Financial
         Documents
   32    Davor Rukavina email re: Goodman –
         Prosperity Bank Proposed Surcharge
   33    Davor Rukavina email re: Ultimatum
         to Prosperity Bank
   34    Davor Rukavina email re: Preparing to
         File Suit Against Prosperity Bank
   35    Davor Rukavina email re: Ready to
         File Suit if no Settlement is Reached
   36    Trustee’s Original Complaint
   37    Davor Rukavina email re: Prosperity
         Bank Stalling – Ready to File the
         Complaint
   38    Eric Schaffer email re: Discussion
         Regarding Filing Suit
   39    Victoria Argeroplos email re:
         Prosperity Bank has Agreed to the
         Settlement
   40    Davor Rukavina email re: Prosperity
         Bank Accepted the Settlement
   41    Davor Rukavina email re: Request for
         a Response to the 506© Offer
   42    Victoria Argeroplos email re: Edits to
         the Stipulation and Agreed Order
   43    Draft Stipulation and Agreed Order
   44    Davor Rukavina email re: Time to
         Make a Deal on the Surcharge
   45    Davor Rukavina email re: Trustee’s
         Charges
   46    Draft Stipulation and Agreed Order
   47    Victoria Argeroplos email re: Would
         Prefer a Global Agreement
   48    Davor Rukavina email re: Attorneys
         Fees Claim of the Bondholders
   49    Davor Rukavina email re: Trustee will
         Agree to the $100K
   50    Paul Silverstein email re: Agreement
         with Trustee’s Proposal
   51    Victoria Argeroplos email to Goodman
         re: Prosperity Bank – Notice of Default
   52    Notice of Default Intent to Accelerate
         and Demand for Payment
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   NO.   DESCRIPTION                               OFFERED   OBJECTION ADMITTED
    53   James Goodman email re: Thought this
         was resolved
   54    David Montgomery email re:
         Releasing cash held in escrow to
         bankruptcy trustee – request for James
         Goodman’s deposition transcript from
         trustee
   55    Brenda Funk email re: attempts to
         locate funds being released to the
         trustee
   56    Brenda Funk email re: Request for
         account history
   57    Brenda Funk email re: Request for
         update on request
   58    Cam Hillyer email re: Draft Objection
         to Prosperity Bank 9019 Settlement
         040723
   59    Brenda Funk email re: Prosperity Bank
         Communications
   60    Eric Schaffer email re: Goodman-
         Bondholder UCC Analysis re:
         Prosperity Funds
   61    Prosperity 9019 Motion UCC Analysis
   62    Victoria Argeroplos email re:
         Prosperity Communications
   63    Eric Schaffer email re: Has a few
         questions for Davor Rukavina
   64    Paul Silverstein email re: Status of
         agreed 9019 motion
   65    Davor Rukavina email re: Request for
         Bondholders to up the agreed
         surcharge to $250k
   66    Adam Langley email re: Request for
         trustee to withdraw the 9019 motion
   67    Eric Schaffer email re: Initial reactions
         to Davor Rukavina’s surcharge email
   68    Paul Silverstein email re: Prosperity
         Settlement
   69    Davor Rukavina email re: Trustee
         being pressured to withdraw from the
         settlement – new proposal
   70    Eric Schaffer email re: Settlement
   71    Davor Rukavina email re: Aggressive
         tactics not well received


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   NO.   DESCRIPTION                               OFFERED   OBJECTION ADMITTED
    72   Davor Rukavina email re: Need banks
         response to proposal or will withdraw
         settlement motion
   73    Davor Rukavina email re: Trustee has
         given two options – needs answer by 5
         p.m.
   74    Victoria Argeroplos email re: Bank
         accepts the $200k payment term
   75    Eric Schaffer email re: Settlement
   76    Eric Schaffer email re: Close call –
         take out of motion
   77    Davor Rukavina email re: Will revise
         the motion
   78    Eric Schaffer email re: FedEx needs to
         file their objection – no good purpose
         is served by delay
   79    Trustee’s Responses and Answers to
         Joint First Requests for Admissions
   80    Trustee’s Responses and Answers to
         Joint First Set of Interrogatories
   81    Bondholder’s Responses and
         Objections to FedEx Supply Chain
         Logistics & Electronics, Inc. and Arris
         Solutions, Inc.’s Joint First Requests
         for Admissions. Joint First Requests
         for Production, and Joint First Set of
         Interrogatories
   82    Filed Deposit Account Control
         Agreement
   83    Filed Prosperity Bank statement for
         account ending 3992
   84    Filed Prosperity Bank letter re:
         Goodman Networks DACA
         Transaction Requests
   85    Notice to Take Deposition of
         Prosperity Pursuant to Fed.R.Civ.P.26
         and Fed.R.Bankr.P.7030
   86    Attachment A to the Notice of
         Deposition
   87    Prosperity Bank Business Records
         Affidavit
   88    Deposit Account Control Agreement
   89    Loan Agreement
   90    Promissory Note
   91    Loan Agreement

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   NO.   DESCRIPTION                            OFFERED   OBJECTION ADMITTED
    92   Promissory Note
    93   Security Agreement
    94   Security Agreement
    95   Pledge and Security Agreement
    96   Pledge and Security Agreement
    97   Assignment of Deposit Account
    98   Prosperity Bank statement for account
         ending 3992
   99    Prosperity Bank statement for account
         ending 4352
   100   Prosperity Bank letter re: Goodman
         Networks DACA Transaction Requests
   101   Genesis Network Loan Inquiry
   102   Notice of Exclusive Control – Account
         Control Agreement
   103   Michele Ross email re: Goodman
         DACAs
   104   Reed Smith letter re: Goodman
         Networks Incorporated 5% Senior
         Secured Notes Due 2022
   105   Prosperity Bank’s Reply to the Joint
         Response and Objection of FedEx
         Supply Chain Logistics and
         Electronics, Inc. and Arris Solutions,
         Inc. to Trustee’s Amended Motion for
         Approval of Compromise and
         Settlement with Prosperity Bank and
         UMB Bank, National Association
   106   Michele Ross email re: Need to
         address how the funds should be held
   107   Baxter Bates email re: Goodman –
         Extension Instruction of D&O
         Coverage
   108   David Parham email re: Goodman
         Funds at Prosperity
   109   David Parham email re: Goodman
         Funds at Prosperity
   110   John Goodman email re: Debt dispute
         with Baxter Bates
   111   Baxter Bates email re: Term Loan
   112   David Montgomery email to James
         Goodman re: Planning Motion to
         release collateral back to bank to
         satisfy loan


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   NO.   DESCRIPTION                             OFFERED   OBJECTION ADMITTED
   113   David Montgomery email to James
         Goodman re: Notice of Default
   114   Procedure – Critical Alert Add,
         Change or Delete
   115   Prosperity Bank Proof Daily
         Transaction Journal
   116   Prosperity Bank’s Responses to FedEx
         Supply Chain Logistics and
         Electronics, Inc. and Arris Solutions,
         Inc.’s Requests for Admission and
         Interrogatories
   117   Notice to Take Deposition of Trustee
         Scott Seidel Pursuant to
         Fed.R.Civ.P.26 and
         Fed.R.Bankr.P.7030
   118   Prosperity Bank letter re: Goodman
         Networks DACA Transaction Requests
   119   Davor Rukavina email re: Trustee is
         going after Prosperity Bank money
   120   Davor Rukavina email re: Trustee
         would like to propose an agreed
         surcharge amount
   121   Paul Silvertein email re: request for
         update after discussion with Prosperity
   122   Davor Rukavina email re: update on
         discussion with Prosperity
   123   Victoria Argeroplos email re:
         Goodman Prosperity Escrow
   124   Davor Rukavina email re: Preparing to
         sue the bank without meaningful offer
   125   Eric Schaffer email re: Needs to update
         client – request for more information
   126   Davor Rukavina email re: request for
         documents showing the $4.6MM
         transfer from Goodman to Prosperity
   127   Eric Schaffer email re: doesn’t have
         documentation of the transfer
   128   Davor Rukavina email re: has not
         heard from Prosperity – ready to file
         Complaint
   129   Trustee’s Original Complaint
   130   Eric Schaffer email re: hopes to
         resolve cash collateral issues on an
         agreed basis


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   NO.   DESCRIPTION                              OFFERED   OBJECTION ADMITTED
   131   Victoria Argeroplos email re:
         Prosperity has approved the settlement
   132   Davor Rukavina email re: thinks they
         have an all-around deal that puts
         Prosperity to rest
   133   Brenda Funk email re: request for
         statement and account history from
         Prosperity
   134   Brenda Funk email re: welcome
         discussion regarding how the funds
         should be distributed
   135   Trustee’s Motion Under Bankruptcy
         Rule 9019 for Approval of Settlement
         and Compromise with Prosperity Bank
         and UMB Bank, National Association
   136   Davor Rukavina email re: Trustee is
         being pushed by biggest creditors to
         withdraw from the settlement with
         Prosperity
   137   Prosperity Bank’s Reply to the Joint
         Response and Objection of FedEx
         Supply Chain Logistics and
         Electronics, Inc. and Arris Solutions,
         Inc. to Trustee’s Amended Motion for
         Approval of Compromise and
         Settlement with Prosperity Bank and
         UMB Bank, National Association
   138   Trustee’s Second Amended Motion
         Under Bankruptcy Rule 9019 for
         Approval of Settlement and
         Compromise with Prosperity Bank and
         UMB Bank, National Association
   139   Adam Langley email re: request for
         Trustee to withdraw the 9019
   140   Eric Schaffer email re: request to
         remove “close call” language
   141   Trustee’s Amended Motion Under
         Bankruptcy Rule 9019 for Approval of
         Settlement and Compromise with
         Prosperity Bank and UMB Bank,
         National Association
   142   Trustee’s Responses and Answer to
         Joint First Requests for Admissions
   143   Trustee’s Responses and Answer to
         Joint First Set of Interrogatories

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   NO.      DESCRIPTION                             OFFERED              OBJECTION ADMITTED
   144      Prosperity Bank letter re: Goodman
            Networks DACA Transaction Requests
   145      Davor Rukavina email re: has not
            heard back from Prosperity
   146      Scott Seidel, Chapter 7 Trustee of
            Goodman Networks, Inc.’s Response
            to Creditors’ Joint Second Requests for
            Admission
   147      Scott Seidel, Chapter 7 Trustee of
            Goodman Networks, Inc.’s Response
            to Creditors’ Joint Second Set of
            Interrogatories
   148      Davor Rukavina letter re: objections
            and responses of the Trustee to FSCLE
            and Arris Solutions Amended Joint
            Second Requests for Production to
            Scott Seidel, Chapter 7 Trustee
   149      Deposition Transcript of Prosperity
            Bank/David Montgomery 30(b)(6)
   150      Deposition Transcript of James
            Goodman
            Any document or pleading filed in the
            above-captioned case
            Any exhibit introduced by any other
            party
            Rebuttal exhibits as necessary



          The Objectors reserve the right to rely upon and use as evidence (i) additional documents

 produced by the Trustee; (ii) additional documents produced by any other parties in interest; (iii)

 exhibits included on the exhibit lists of any other parties in interest, (iv) any demonstrative exhibits;

 and (v) any pleading, hearing transcript, or other document filed with the Court in this bankruptcy

 cases.




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 Dated: October 6, 2023

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                                 CERTIFICATE OF SERVICE

         I, R. Campbell Hillyer, certify that the foregoing pleading was filed electronically through
 the Court’s ECF system and served electronically on all parties enlisted to receive service
 electronically in this case.

        Dated: October 6, 2023

                                               /s/ R. Campbell Hillyer
                                               R. Campbell Hillyer




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